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                                                           July 1, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       We write pursuant to the Court’s May 20, 2025 Order requiring that email correspondence
be docketed. (ECF 342.) Accordingly, we are filing email correspondence from the defense.

                                                         Respectfully submitted,

                                                         /s/ Teny Geragos
                                                         Marc Agnifilo
                                                         Teny Geragos
                                                         Alexandra A.E. Shapiro
                                                         Jason A. Driscoll
                                                         Anna Estevao
                                                         Brian Steel
                                                         Nicole Westmoreland
                                                         Xavier Donaldson

cc:    All counsel (by ECF)
